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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                            Chapter 11
                                           i
    BARFLY VENTURES, LLC, et. al,                           Case No. 20-01947-jwb

              Debtors.                                      (Jointly Administered)




      MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGER
     LLP FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
         EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                       CREDITORS FOR NOVEMBER 2020


    Name of Applicant:                              Sugar Felsenthal Grais & Helsinger LLP

    Authorized to provide services to:              Official Committee of Unsecured Creditors

    Effective Date of Retention:                    August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:        November 2020

    Amount of compensation sought as actual,        $10,800.002
    reasonable, and necessary:                      80% = $8,640.00
                                                    20% = $2,160.00

    Amount of expense reimbursement sought:         $0.00

    Total interim request:                          $8,640.00




i The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCatXl 129), 50 Amp Fuse, LLC (d/b/a Stella's Loimge)(3684), GRBC Holdings, LLC, (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat- GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat-KC, LLC and TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994),
Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant Saloon) (4255).
2Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended hourly rate
of$500.


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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     pliage@iaffelaw.corn

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbradnessfS),sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al.

Dated: December 9, 2020
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                                   SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                        30 N. LaSalle Street
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                                                        Chicago, IL 60602
                                                          (312)704-9400




                                                                                                                         Page: 1
      Official Committee of Unsecured Creditors                                                                       11/30/2020
      Barfly Ventures, LLC, et al.                                                                     Account No:    10836-001
      do Gordon Food Service, Inc.                                                                   Statement No:        266342
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                             Hours
11/02/2020    MAB     Review conversion motion (0.3).                                                         0.30       172.50

11/04/2020    MAB     Discussions with potential chapter 7 trustees about case status (1.4); email
                      correspondence and telephone conference with John Lucas regarding
                      conversion motion (0.5); email correspondence with Paul Hage regarding
                      same (0.2).                                                                              2.10     1,207.50

11/05/2020    MAB     Draft supplement to motion to convert (3.9); email correspondence with
                      debtors' professionals regarding same (0.2).                                             4.10     2,357.50

11/06/2020    MAB     Telephone conference with Paul Hage regarding open case issues (0.2).                    0.20      115.00

11/09/2020    NB      Review and compile stipulated motion to approve agreed relief; review and
                      compile stipulated motion to extend time to object to discharge under Rule
                      523 and chapter 11 plan in Mark Sellers bankruptcy action (0.2)                          0.20        50.00

11/12/2020    MAB     Review and revise conversion motion (0.4); telephone conference with Ron
                      Gold regarding chapter 7 trustee (0.3); telephone conference and email
                      correspondence with Paul Hage regarding same (0.4); revise supplement in
                      support of conversion motion (1.4); telephone conference with Michael
                      Maggio regarding chapter 7 trustee (0.3).                                                2.80     1,610.00

11/13/2020    MAB     Multiple strategy conferences with Paul Hage regarding chapter 7 trustee
                      (0.7); telephone conference with Paul Hage and Michael Maggio regarding
                      same (0.4); email correspondence with Elisabeth Van Eitzen regarding
                      same (0.3).                                                                              1.40       805.00

11/15/2020    MAB     Email correspondence with Matthew Murphy regarding credit agreement
                      (0.2).                                                                                   0.20       115.00

11/18/2020    JRO     Email correspondence Paul Hage regarding Sellers hearing 11/19 (0.2).                    0.20       107.00

11/19/2020    MAB     Prepare for and participate in Sellers hearing (1.4); email correspondence
                      with Paul Hage regarding same (0.2); email correspondence with Jason
                      Torf regarding chapter 7 trustee appointment (0.2); email correspondence
                      with Paul Hage regarding same (0.1).                                                     1.90     1,092.50

11/23/2020    MAB     Multiple email correspondence with John Piggins regarding Sellers' plan
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      Official Committee of Unsecured Creditors                                                                  11/30/2020
                                                                                                  Account No:    10836-001
                                                                                                Statement No:        266342
      General Case Administration


                                                                                                        Hours
                     (0.4).                                                                              0.40       230.00

11/25/2020    MAB    Telephone conference with Paul Hage and Jason Torf regarding Sellers'
                     claim objection (0.5).                                                               0.50      287.50

11/30/2020    MAB    Telephone conference with Paul Hage regarding case strategy (0.3); email
                     correspondence with Jason Torf regarding chapter 7 trustee (0.4).                    0.70      402.50
                     For Current Services Rendered                                                       15.00     8,552.00

                                                       Recapitulation
              Timekeeper                                             Hours            Rate            Total
              Michael A. Brandess                                     14.60        $575.00        $8,395.00
              John R. O'Connor                                        0.20          535.00           107.00
              Nancy Bailey                                            0.20          250.00            50.00




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                                                   Chicago, IL 60602
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      Official Committee of Unsecured Creditors                                                             11/30/2020
      Barfly Ventures, LLC, et al.                                                          Account No:     10836-005
      c/o Gordon Food Service, Inc.                                                       Statement No:         266344
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                            Fees

                                                                                                    Hours
11/06/2020    MAB    Draft October monthly fee statement (1.1).                                      1.10      632.50
                     For Current Services Rendered                                                   1.10      632.50

                                                       Recapitulation
              Timekeeper                                             Hours         Rate           Total
              Michael A. Brandess                                     1.10      $575.00         $632.50




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                                   SUGAR FELSENTHAL
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                                                                GRAIS & HELS1NGER LLP
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                                                          Suite 3000
                                                       Chicago, IL 60602
                                                         (312)704-9400




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      Official Committee of Unsecured Creditors                                                                      11/30/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-008
      c/o Gordon Food Service, Inc.                                                                 Statement No:       266347
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Claims Analysis & Objections




                                                            Fees

                                                                                                            Hours
11/20/2020    MAB    Draft objection to Mark Sellers' claim (3.4); email correspondence with Paul
                     Hage regarding same (0.2).                                                               3.60

11/23/2020    MAB    Telephone conference with Paul Hage regarding Sellers' claim objection
                     (0.3); email correspondence with Jason Torf regarding same (0.1).                        0.40
                     For Current Services Rendered                                                            4.00     2,300.00

                     Total Current Work                                                                               2,300.00




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                                                           Suite 3000
                                                        Chicago, IL 60602
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      Official Committee of Unsecured Creditors                                                             11/30/2020
      Barfly Ventures, LLC, et al.                                                           Account No:    10836-010
      c/o Gordon Food Service, Inc.                                                        Statement No:        266348
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Creditor Inquiries, Negotiations, & Settlements


                                                             Fees

                                                                                                   Hours
11/12/2020    MAB     Email correspondence with Jason Torf regarding claim amount (0.2).            0.20
                      For Current Services Rendered                                                  0.20      115.00

                      Total Current Work                                                                       115.00




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      Official Committee of Unsecured Creditors                                                                    11/30/2020
      Barfly Ventures, LLC, et al.                                                                  Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                               Statement No:        266349
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                             Fees

                                                                                                           Hours
11/03/2020    MAB     Draft email memorandum to committee regarding conversion and
                      substantive consolidation motion (0.4).                                               0.40      230.00

11/04/2020    MAB    Email correspondence with committee regarding case conversion motion
                     and trustee election (0.4); telephone conference with Craig Hall regarding
                     same (0.2).                                                                            0.60      345.00
                     For Current Services Rendered                                                          1.00      575.00

                                                        Recapitulation
              Timekeeper                                              Hours              Rate            Total
              Michael A. Brandess                                      1.00           $575.00          $575.00




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      Official Committee of Unsecured Creditors                                                                      11/30/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                                 Statement No:       266350
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters




                                                               Fees

                                                                                                            Hours
11/06/2020    MAB     Review draft stipulation to extend deadline to file dischargeability action
                      against Mark Sellers (0.3).                                                             0.30
                      For Current Services Rendered                                                           0.30      172.50

                      Total Current Work                                                                                172.50




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